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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                        COALITION ON HOMELESSNESS, et al.,
                                   7                                                         Case No. 4:22-cv-05502-DMR
                                                        Plaintiffs,
                                   8
                                                   v.                                        AMENDED CASE MANAGEMENT AND
                                   9                                                         PRETRIAL ORDER FOR COURT TRIAL
                                        CITY AND COUNTY OF SAN
                                  10    FRANCISCO, et al.,
                                  11                    Defendants.

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                                  13   1.     TRIAL DATE

                                  14          a.        Court trial shall begin on 10/1/2024 at 9:00 a.m. at the U.S. District Court, 1301

                                  15   Clay Street, Oakland, California. For courtroom number and floor information, please check the

                                  16   Court’s on-line calendar at www.cand.uscourts.gov one week prior to trial, or call Ivy Garcia

                                  17   (Judge Ryu’s Courtroom Deputy) at (510) 637-3639.

                                  18          b.        The length of the trial will be not more than 8 days. The Court may shorten the

                                  19   allotted time as it deems appropriate, and may also allocate a fixed number of hours for each side.

                                  20   Court hours for trial normally are 9:00 a.m. to 3:00 p.m., subject to the Court’s availability.

                                  21   2.     DISCOVERY AND EXPERT DISCLOSURES

                                  22          a.        All non-expert discovery shall be completed by 5/14/2024.

                                  23          b.        Experts shall be disclosed and reports provided by 5/14/2024.

                                  24          c.        Rebuttal experts shall be disclosed and reports provided by 5/28/2024.

                                  25          d.        All discovery from experts shall be completed by 6/11/2024.

                                  26   3.     MOTIONS

                                  27          The last day for hearing dispositive motions shall be 7/11/2024 at 1:00 p.m.

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                                   1   4.     SETTLEMENT CONFERENCE

                                   2          This case has already been referred to Magistrate Judge Lisa J. Cisneros for settlement.

                                   3   5.     PRETRIAL CONFERENCE

                                   4          a.      A pretrial conference shall be held on 9/18/2024 at 3:00 p.m. Lead counsel who

                                   5   will try the case (or the party if pro se) must attend.

                                   6          b.      By 8/20/2024, lead counsel shall meet and confer regarding:

                                   7                  (1)    Preparation and content of the joint pretrial conference statement;

                                   8                  (2)    Preparation and exchange of pretrial materials to be served and lodged

                                   9                               pursuant to paragraph 5(c) below; and

                                  10                  (3)    Settlement of the action.

                                  11          c.      By 8/30/2024, counsel and/or parties shall:

                                  12                  (1)    Serve and file a joint pretrial statement that includes the pretrial disclosures
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                                  13                               required by Federal Rule of Civil Procedure 26(a)(3) as well as the

                                  14                               following supplemental information:

                                  15                         (a)     The Action.

                                  16                                 (i)       Substance of the Action. A brief description of the substance

                                  17                                                of claims and defenses which remain to be decided.

                                  18                                 (ii)      Relief Prayed. A detailed statement of all the relief claimed,

                                  19                                                particularly itemizing all elements of damages claimed

                                  20                                                as well as witnesses, documents or other evidentiary

                                  21                                                material to be presented concerning the amount of

                                  22                                                those damages.

                                  23                         (b)     The Factual Basis of the Action.

                                  24                                 (i)       Undisputed Facts. A plain and concise statement of all

                                  25                                                relevant facts not reasonably disputable, as well as

                                  26                                                which facts parties will stipulate for incorporation into

                                  27                                                the trial record without the necessity of supporting

                                  28                                                testimony or exhibits.
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                                   1                            (ii)      Disputed Factual Issues. A plain and concise statement of all

                                   2                                           disputed factual issues which remain to be decided.

                                   3                            (iii)     Agreed Statement. A statement assessing whether all or part

                                   4                                           of the action may be presented upon an agreed

                                   5                                           statement of facts.

                                   6                            (iv)      Stipulations. A statement of stipulations requested or

                                   7                                           proposed for pretrial or trial purposes.

                                   8                   (c)      Disputed Legal Issues.

                                   9                            Without extended legal argument, a concise statement of each

                                  10                                    disputedpoint of law concerning liability or relief, citing

                                  11                                    supporting statues and decisions, any and procedural or

                                  12                                    evidentiary issues.
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                                  13                   (d)      Trial Preparation.

                                  14                            (i)       Witnesses to Be Called. With regard to witnesses disclosed

                                  15                                           pursuant to Federal Civil Rule of Civil Procedure

                                  16                                           26(a)(3)(A), a brief statement describing the substance

                                  17                                           of the testimony to be given.

                                  18                            (ii)      Estimate of Trial Time. An estimate of the number of hours

                                  19                                           needed for the presentation of each party's case,

                                  20                                           indicating possible reductions in time through proposed

                                  21                                           stipulations, agreed statements of facts, or expedited

                                  22                                           means of presenting testimony and exhibits.

                                  23                            (iii)     Use of Discovery Responses. Designate excerpts from

                                  24                                           discovery that the parties intend to present at trial,

                                  25                                           other than solely for impeachment or rebuttal, from

                                  26                                           depositions specifying the witness page and line

                                  27                                           references, from interrogatory answers, or from

                                  28                                           responses to requests for admission.
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                                   1                   (e)      Trial Alternatives and Options.

                                   2                            (i)       Settlement Discussion. A statement summarizing the status

                                   3                                           of settlement negotiations and indicating whether

                                   4                                           further negotiations are likely to be productive.

                                   5                            (ii)      Amendments, Dismissals. A statement of requested or

                                   6                                           proposed amendments to pleadings or dismissals of

                                   7                                           parties, claims or defenses.

                                   8                            (iii)     Bifurcation, Separate Trial of Issues. A statement of whether

                                   9                                           bifurcation or a separate trial of specific issues is

                                  10                                           feasible and desired.

                                  11                   (f)      Miscellaneous.

                                  12                                    Any other subjects relevant to the trial of the action or material
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                                  13                                    to its just, speedy and inexpensive determination.

                                  14             (2)   Serve and file trial briefs, motions in limine (including any motion

                                  15                         regarding the qualifications or testimony of any expert witness) and

                                  16                         joint proposed findings of fact and conclusions of law. The findings

                                  17                         of fact shall set forth in simple, declarative sentences, separately

                                  18                         numbered, all factual contentions relied upon by the party in support

                                  19                         of its claims for relief and shall be free of pejorative language and

                                  20                         argument. Counsel shall submit separately their disputed findings of

                                  21                         fact and conclusions of law. Counsel shall email a copy of their

                                  22                         proposed findings of fact and conclusions of law in a standard word

                                  23                         processing format (and not .pdf format) to dmrpo@cand.uscourts.gov.

                                  24             (3)   Serve and file an exhibit setting forth the qualifications and experience for

                                  25                         each expert witness;

                                  26             (4)   Serve and file a list of each party's exhibits by number (plaintiff) or letter

                                  27                         (defendant), including a brief statement describing the substance and

                                  28                         purpose of each exhibit and the name of the sponsoring witness;
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                                   1                  (5)     Exchange exhibits which shall be premarked (plaintiff shall use numbers;

                                   2                                defendant shall use letters) and tabbed; and

                                   3                  (6)     Deliver two sets of all prepared exhibits to chambers (exhibits are not to be

                                   4                                filed).

                                   5          No party shall be permitted to call any witness or offer any exhibit in its case in chief that

                                   6   is not disclosed in its pretrial statement without leave of the Court and for good cause.

                                   7          d.      By 9/9/2024, after meeting and conferring in a good faith attempt to resolve and

                                   8   objections, counsel and/or parties shall serve and file: (1) any objections to exhibits or to use of

                                   9   deposition excerpts or other discovery; (2) any objections to witnesses, including the qualifications

                                  10   of an expert; (3) any opposition to a motion in limine.

                                  11          e.      All motions in limine and objections shall be heard at the pretrial conference.

                                  12   6.     All documents filed with the Clerk of the Court shall list the civil case number followed
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                                  13   only by the initials "DMR." One copy must be clearly marked as a chambers copy. Chambers'

                                  14   copies shall be three-hole punched at the left side, suitable for insertion into standard binders.

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                                  16          IT IS SO ORDERED.

                                  17   Dated: September 20, 2023
                                                                                         ______________________________________
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                                                                                         DONNA M. RYU
                                  19                                                     Chief Magistrate Judge

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